               Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 1 of 74 PageID #:7




                           Exhibit A




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Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 3 of 74 PageID #:9
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 4 of 74 PageID #:10
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Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 7 of 74 PageID #:13
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 8 of 74 PageID #:14
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Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 40 of 74 PageID #:46
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 41 of 74 PageID #:47
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 42 of 74 PageID #:48
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 43 of 74 PageID #:49
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 44 of 74 PageID #:50
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 45 of 74 PageID #:51
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 46 of 74 PageID #:52
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 47 of 74 PageID #:53
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 48 of 74 PageID #:54
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 49 of 74 PageID #:55
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Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 64 of 74 PageID #:70
Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 65 of 74 PageID #:71
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Case: 1:17-cv-02579 Document #: 1-1 Filed: 04/04/17 Page 74 of 74 PageID #:80
